Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 1 of 10



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                         CASE NO.:11-80155-CR-M ARRM 1OPKlNS(s)(s)
  UN ITED STA TES OF A M ERICA

                        Plaintiff,                                  F'!
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   PA U L JO YCE,                                                  (     '
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                        D efendant.




       REPO R T A ND R EC O M M EN DA TIO N O N TH E DE FEN DA N T PA U L JO Y C E 'S
      M OTION TO SUPPRESS EVIDENCE AND FOR A FM NKS H EARING (DE 312)

         THISCAUSE comesbeforetheCourtuponan orderofreferral(DE 494).TheCourt
  hasbeforeittheDefendant'smotionto suppressandforaFrankçhearing (DE 312),the
  Govenunent'sresponse(DE 329),andtheDefendant'sreply(DE 344).Forthereasonsthat
  follow ,this CourtRECO M M EN D S thatthe Defendant's m otion be D EN IED .

                                         BA C K G RO UN D

          TheDefendantPAUL JOYCE wasindicted,along with severalco-defendantsin a

   Second SupersedingIndictmentonJune7,2012(DE 507),onchargesofconspiracytoillegally
  distribute anabolicsteroids,illegaldistribution ofanabolicsteroids,conspiracy to illegally

  distributehum an grow th hormone and illegaldistribution ofhum an growth horm one.On June

  25,2011,M agistrate Judge Ann V itunac signed a search w arrantfor8845 N .M ilitary TrailSuite

  400,Palm Beach Gardens,FL 33410,thelocationofPalm Beach LifeExtension(ç$PBLE''),a
  business owned and operated by defendantPaulJoyce and codefendantCharles Cook. The item s

  to be seized included lists ofcustom ers;custom errecords'
                                                           ,em ployee lists;recordsrelating to the
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 2 of 10



  receipt,sale,delivery,dispensing,and disposition ofcontrolled substances'
                                                                          ,and otherm aterials.

  Thewarrantwasexecuted on June 28,201l,along with search warrantsforfourotherlocations:

  TheHealthandRejuvenationCenter(SITHARC'')inPalm BeachGardens,TreasureCoast
  Specialty Pharmacy(CSTCSP'')inJensen Beach,lnfinityM edical& Rehabin W estPalm Beach,
  and a storage unitatSecurity SelfStorage in PortSt.Lucie. During the search ofPBLE,the

  Governmentseized customerrecordsdetailing ordersforsteroids,hum an growth hormone

  ('$hGH'') andotherdrugs.
         D efendantrequests thatthe Courtsuppressthis evidence and/or granta Franks hearing,

  in w hich defendantw ould have an opportunity to cross-exam ine the affiantregarding the

  veracity oftheaffidavit.

                                             AN A LY SIS

         Affidavitssupporting search warrantsare presumptively valid.Franksv.Delaware,438

  U.S.154,171(1978).W henadefendantmovestosuppressevidencebasedonalleged
  misrepresentationsorom issionsin a search warrantaffidavit,he isentitled to an evidentiary

  hearing only ifhem akesa substantialprelim inary showingthatstatementswere falseorm ade

  with arecklessdisregard forthetruth.1d.A substantialprelim inary showing

         m ustbe m ore than conclusory and m ustbe supported by m ore than a m ere desire
         to cross-examine. g'Tlhoseallegationsmustbeaccompaniedbyanofferofproof.
         g'rlhey should be accompanied by astatementofsupporting reasons. Affidavits
         or sworn or otherwise reliable statem ents of witnesses should be fum ished,or
         theirabsence satisfactorily explained.

  1d.at 170.

         N egligentor innocentm istakes do notnecessitate a Frank.
                                                                 s hearing or suppression. 1d.

  And the requirem entthatan affidavitbe lstruthful''does notm ean thatthe aftidavitis dçtruthful''

  in the sense thatevery factrecited in itisnecessarily correct;rather,itis dttruthful''in the sense
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 3 of 10



  thattheinform ation putforth isbelieved orisappropriately accepted by theaffiantastruewith

  no recklessdisregard forthetruth.f#.at165. The Supreme Court,in aFirstAmendment

  context,has found thatreckless disregard forthetruth requires a show ing thatthe affiant

  entertained serious doubtsas to the truth ofhispublication. St.Amantv.Thompson,390 U .S.

  727,731(1968).ThedefendantmustCtpointoutspecificallytheportion ofthewarrantaftidavit
  thatisclaim ed to be false''and his allegationsofdeliberate falsehood orrecklessdisregard for

  the tnzth dsm ustbe accom panied by an offerofproof.'' Franks,438 U .S.at 171. A s faras

  omissions,awarrantwillbe invalidated only iftheinclusion oftheom itted information would

  havepreventedafindingofprobablecause.Madiwalev.Savaiko,117F.3d 1321,1327 (11th
  Cir.1997).
         A defendantmustshow both(1)çithatthealleged misrepresentationsoromissionswere
  knowingly orrecklesslymade,''and(2)Ctthattheresultofexcludingthealleged
  m isrepresentationsand includingthe alleged om issionswould have been alack ofprobable

  causeforissuanceofthewarrant.'' Unitedstatesv.Novaton,271F.3d968,986-87(11thCir.
  2001);UnitedStatesv.Cross,928F.2d 1030,1040(11thCir.1991).A warrantisnonetheless
  validSçwhenmaterialthatisthesubjectoftheallegedfalsityorrecklessdisregard issettoone
  side,(andlthereremainssufticientcontentinthewarrantaffidavittosupportafindingof
  probablecause.''Franks,438 U.S.at171-72.

         An evaluation ofprobable causeentailsreading theapplication and affidavitasawhole,

  notreading w ords and phrases read outofthe contextin w hich they w ere w ritten. See,e.g.,

   UnitedStatesv.fong,674F.2d848(11th Cir.1982);UnitedStatesv.Cortez,449U.S.411
  (1981).Themagistratejudgeispermittedtoutilizecommon sensetoconstruetheaffidavitina
  realisticandnon-technicalmanner.See,e.g.,UnitedStatesv.Harris,403U.S.573(1971).The
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 4 of 10




  magistratejudgeneedonly determinethatthereisafairprobabilitythatevidenceofacrimewill
  be found in a particular place,and herdecision is entitled to considerable deference. Illinois v.

  Gates,462U.S.213,237(1983);seealso,e.g.,UnitedStatesv.Cantu,625F.Supp.656(N.D.
  Fla.1985),aff'd791F.2d940(11thCir.1986).
         Defendantfirstattacksasfalse and m isleading paragraph 5 oftheaffidavit,in which the

  affiantlists the four statutory provisionsthathe believed defendantand codefendants had

  violated.Twoofthesestatutoryprovisionswere21U.S.C.jj841(a)(1)and 846.Thetirst
  section,Section 841(a)(1),prohibitstheunlawfuldistribution anddispensingofcontrolled
  substances. The affiantw enton to listspecific controlled substances,including oxycodone and

  anabolic steroids.Thesecond section,Section 846,prohibitsconspiracy to violate otherTitle 21

  offenses,includingSection841mentionedabove,and Section843(a)(3).Section843(a)(3)
  prohibitsobtaininga controlled substance through fraud orforgery. Defendantcorrectly points

  outthat:(1)theaffidavitcontainsnootherinfonnationonoxycodonedistribution,otherthanin
  paragraph 21,where oxycodone isonce again mentioned asan exnmple ofacontrolled

  substance'
           ,and (2)theaffidavitcontainsnoinfonnationrelatingtofraudorforgery.Thesetwo
  citationsweremistakenly included in thislistofstatutoryprovisions,butnotincluded in any

  portion ofthe probable cause contained in the affidavit.

         Thisoversightappears to be the resultofnegligence and notthrough recklessness or

  intention. In A ttachm entB to the affidavit,w hich liststhe item sto be searched and seized,the

  affiantstatesçigalllrecords,doclzments,andmaterials...whichrelatetoconspiracytodistribute
  and distribution ofcontrolled substances,specifically anabolic steroids,and IAGH ,from Palm

  Beach Life Extension Incv'' Affid.,Attach.B. Theattachm entdoesnotincludeoxycodone,and

  themagistratejudgedeterminedthattheaffidavitestablishedprobablecauseto searchforand
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 5 of 10



  seize the item slisted in Attachm entB. Striking from the aftidavitthe two referencesto

  oxycodoneandtheonereferenceto21U.S.C.j843(a)(3)wouldhavenoeffectontheprobable
  cause finding.

         Pointing to paragraphs5 and 18oftheaftidavit,defendantalso raisesadisputeoverthe

  definitionofdtdispensing''under21U.S.C.jj841and 846.Defendantarguesthattherewasno
  probable causeto search PBLE forevidence ofillegaldispensing ordistributing ofsteroidsand

  IAGH,becauseunderFloridaStatutesj465.00346),lsdispensing''excludesactualsalesor
  adm inistration ofdrugs. ln otherw ords,defendantcontends thatPBLE w asnotdispensing

  drugs,as tidispensing''isdefined underFlorida law .

         H owever,the aftidavitsetsforth facts likely constituting both dispensing and distributing

  asthoseterm sare defined underthe Controlled SubstancesAct.Asthe aftiantsetforth,in

  paragraph 18,Treasure CoastSpecialty Pharmacy recordsshow thatPBLE received steroidsat

  itsbusinessaddress forthe custom er.

         D efendantnextcom plains thatthe affiantnoted inform ation from defendant'sbusiness

  websiteobtained closetothedateofissuance ofthe search warrant.Theaffiant'suse ofthis

  infonuation wasproperand contributed to the finding ofprobable cause. There isno errorin

  including both olderand m orerecentevidenceofacrim ein asearch warrantaffidavit.

         D efendantalso allegesthatinfonnation contained in paragraph 20,on the pharm acy's

  billingpractices,isirrelevanttoPBLE andthereforemisleadingtothemagistratejudge.
  How ever,by detailing thatthe phannacy sends billing invoicesto clientbusinesseslike PBLE

  and TH A RC,and then receives paym entdirectly from clientbusinesses,the infonnation helped

  establish probable cause thatfinancialrecordsrelating to the illegaldistribution and dispensing

  ofsteroidsand hGH w ould be found atthe businesses.
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 6 of 10



         Defendantraisesanotherargumentconcerningthe legaldefinition and interpretation of

  term s and statutesm entioned in the aftidavit. He contends thatthe affiantûdm isinterpreted''and

  tdover-extended''themeaningandpurposeoftheRyanHaightOnlinePharmacyAct(tdtheRyan
  HaightAct''),therebymisleadingthemagistratejudge.21U.S.C.829(e)
         H ow ever,PBLE falls w ithin the Ryan H aightA ct'sam bitbecause itisthe tdagent,

  interm ediary,orotherentity''thatusestheintem etin bringingtogethera custom erandtheseller

  ofdrugs.1d.at21U.S.C.j841(h)(2).
         D efendantalso disputesthe affant's listing ofFlorida Adm inistrative Code Rules and

  Florida Statutes regarding a Florida-licensed physician'srecordkeeping obligations. H ow ever,

  becausethe Florida Adm inistrative CodeRulesand FloridaStatutesm andatethatphysicians

  keep such records,inclusion oftheirprovisionsw asrelevant.

         There w as sufficientinform ation provided to establish probable cause as to PBLE 'S

  crim inalactivity. PBLE advertised on itsw ebsite thatitw asa ûsfully licensed m edicalclinic''

  andthatitadm inistered hGH andtestosteronetherapiesunderthe supervision ofm edicalstaff,

  although PBLE had no healthcare-related license from stateorfederalauthorities.PBLE

  advertised the goalsofits hGH therapy,including w rinkle rem ovaland w eightloss,which are

  unauthorized usesforhGH. Recordsfrom TreasureCoastSpecialty Pharmacy,wherePBLE

  fulfilled someofitscustom ers'orders,show thatthe pharm acy shipped drug ordersto PBLE at

  itsbusinessaddress,fordistributionby PBLE to itscustom ers,although PBLE holdsno DEA

  registration to dispense controlled substances.

         ln addition,evidence connectsPBLE to TH A RC,a steroidsand hGH businessow ned and

  operated by codefendantsD onald M ontano and K evin Jolm son. The ow nersofPBLE,defendant

  PaulJoyce and codefendantCharlesCook,as wellas codefendantsJoyce,Cook,M ontano,
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 7 of 10



  Johnson,and Dr.Jeffrey Perelman,wereonceal1businessassociates.

         M ore evidence ofthe connection betw een PBLE and THA RC is apparentfrom their

  websites. Both w ebsites,as detailed in paragraphs 11 and 12 ofthe affidavit,advertise that

  PBLE and THA R C offerhG H and testosterone dtprogram s''oriûtherapies,''advertise D r.Jeffrey

  Perelm an astheirçsM edicalDirector,''who Stoversees''m edicalstaff'
                                                                     ,and hold them selvesoutas

  Cdclinics''offering m edicalservicesthrough Dr.Perelm an.

         The colm ection betw een the tw o businesses w as further confirm ed by a TH A RC sales

  employeewho quitworkingatTHARC sometimebeforeJanuary2008.Affid.,! 13.This
  fonneremployee confirmed thatPBLE and THARC used the sam ephysician,codefendantDr.

  Perelm an,and nurse practitionerto review and approve custom erordersforproducts sold by

  PBLE andTHARC.Affid.,! 13.TheformeremployeealsostatedthatDr.Perelmannever
  exam ined a custom er,and thatshe generated the originalorderforsteroids and hGH thatwas

  forw arded to Dr.Perelm an,w ho approved approxim ately 99% ofthe orders. Further,she w as

  som etimesinstructed by thenursepractitionerto writecertain thingsinto a custom er'sfileto

  justifythe(tprescription''forthedrugs.
         A ccording to Treasure Coast Specialty Pharm acy records,D r.Perelm an issued

  approxim ately 4,430 dtprescriptions''foranabolic steroidsto custom ersin forty-eightstates,

  during a five-m onth period,through hisposition asM edicalDirectorforTHARC andPBLE.

  Thisevidence,coupled w ith the form er THA R C em ployee's statem entthatDr.Perelm an never

  exam ined a patient,established probable cause thatD r.Perelm an w aspaid by both PBLE and

  TH A RC to sign offon drug orders forcustom ers w ithouta valid physician-patientrelationship,

  in violation ofthe Controlled SubstancesA ct.

         The undercoverbuys done w ith TH A RC also contributed to probable cause thatPBLE
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 8 of 10



  operated illegally,becausethey involved Dr.Perelm an - M edicalDirectorforboth THARC and

  PBLE.SeeAffid.,!! 16and 17.lnbothundercoverbuyswithTHARC,Dr.Perelman
  prescribed controlled substances and hG H w ithoutspeaking w ith orphysically exam ining the

  custom er. This infonnation show sthatD r.Perelm an operated outside the usualcourse of

  m edicalpractice,and his relationship w ith PBLE owners m ade itlikely thatPB LE knew how he

  operated.

         Defendant'smotion also complainsabouttheaffiant'sinclusion,in paragraph 15,ofan

  April2007 consum ercom plaintagainstthe nurse practitionerem ployed by both THA RC and

  PBLE atthe tim e,David Peterson withoutincluding inform ation regardingtheresolution ofthis

  complaint.A mere tip,aslongasitiscorroborated by otherincrim inating evidence,can bepart
  ofthe basis leading to probable cause. UnitedStatesv.Chaves,169F.3d687,691(11thcir.

   1999).Heretheconsumercomplaintprovidessomeevidence,butishardlyessentialto a
  probablecause determ ination.M oreover,itwasnotallegedthatthe complaintwassubstantiated.

         Finally,defendantarguesthatthe inform ation from the fonner TH A RC em ployee,from

  the consum ercom plaint,and from the undercoverbuys,isûsstale''and should nothave been

  consideredbythemagistratejudge.tdlllfanaftidavitrecitesactivityindicatingprotractedor
  continuousconduct,time isoflesssignificance.'' UnitedStates v.Buscaro,742 F.2d 1335,

   1345-46(11th Cir.1984);seealso UnitedStatesv.M agluta,198F.3d 1265(11th Cir.1999)
  (findingthatongoingcriminalactivitycandefeatastalenessclaim).Here,theaftidavit
  described crim inalactivity thatappeared to have begun asearly as 2007,w ith the consum er

  com plaint. A ctivity w as continuing aslate as June 24,2011,w hen the affiantobserved that

  PBLE w asadvertising itselfasa Stfully licensed m edicalclinic''offering testosterone and hG H

  forunauthorized purposes,w ith Dr.Perelm an as a M edicalD irector.
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 9 of 10



         A11oftheevidenceincluded in theaffidavit,viewed asawholeand underthetotality of

  the circum stances,establishedprobablecause thata search ofPBLE would renderevidencethat

  defendantwasillegally distributing and dispensing controlled substancesand IAGH. The

  magistratejudge'sdeterminationwascorrect.
         Even ifthere w asa lack ofprobable cause,the good faith exception tm der United States

  v.feon,468U.S.897(1984),would applybecausethereisnoevidencethattheaffiant
  knowinglyorrecklesslymisledthemagistratejudge.Accordingly,suppressionofevidence
  seized pursuantto the search isunwarranted underfeon.

         W here the defendantfailsto m ake the necessary prelim inary show ing he is notentitled to

  aFrankshearing.SeeUnitedStatesv.Vann,336Fed.App'x 944,948-49(11th Cir.2009)(self-
  servingstatementsandunswornassertionsdonotwarrantaFrankshearingl;UnitedStatesv.
  Kapordelis,569F.3d 1291,1309(11th Cir.2009)(evidentiaryhearingnotwarrantedinchild
  pornographycasewheremagistratejudgeconsideredaffidavitwiththeomissionsandadditions
  proposedbydefendantand stillfoundprobablecause);UnitedStatesv.Williams,146Fed.
  App'x425,430-31(11thCir.2009)(disagreeingwiththefactsasstatedinthesearchwarrant
  affidavitisnotabasisforaFrankahearing);UnitedStatesv.Sarras,575F.3d 1191(11th Cir.
  2009)(defendantnotentitledtohearingwhereaffidavitdidnotidentifylocation ofcamerafilled
  with imagesinsexuallyexplicitconductcase);UnitedStatesv.Arbolaez,450F.3d 1283,1294
   (11thCir.2006)(referencetounsworn statementbyindividualdenyingthathemadestatement
  attributedtohim intheaffidavitfailedtomakethenecessarysubstantialpreliminaryshowing);
   UnitedStatesv.Jenkins,90lF.2d 1075,1080(11th Cir.1990)(withnoofferofproofshowing
  thattheagentdeliberately excluded infonnation,defendantwasnotentitled to evidentiary

   hearing).
Case 9:11-cr-80155-KAM Document 788 Entered on FLSD Docket 12/12/2012 Page 10 of 10



          Accordingly,Defendant'sm otion to suppressevidence and requestforaFrankçhearing

   (DE 312)shouldbedenied.
          NO TICE O F R IG H T T O O B JECT

          A partyshallserveandfilewrittenobjections,ifany,tothisReportand Recommendation
   with theHonorable SeniorUnited StatesDistrictJudgeKenneth A.M arrawithin fourteen (14)
   days afterbeing served with a copy. See 28 U.S.C.j 636(b)(1)(C). Failure to tile timely
   objections may limitthe scope ofappellate review offactualfindingscontained herein. See
   UnitedStatesv.Warren,687F.2d347,348(11th Cir.1982),ccr/.denied,460U.S.1087(1983).
          D ON E AN D SU BM ITTED in Cham bers this 12 day of D ecem ber,2012,atW est Palm

   Beach in the Southern DistrictofFlorida.


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